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 13
    Co-Lead Counsel for Plaintiffs and the Class
 14
 15                       UNITED STATES DISTRICT COURT
 16                      CENTRAL DISTRICT OF CALIFORNIA

 17   KATHRYN A. POSER, Individually           Case No.: 2:18-cv-03242-SVW-E
 18   and on Behalf of All Others Similarly
      Situated,                                JOINT STIPULATION AND
 19                                            [PROPOSED] ORDER
 20                        Plaintiff,          APPOINTING LEAD PLAINTIFFS
                                               AND APPROVING CO-LEAD
 21                 v.                         COUNSEL
 22
      LIVE NATION                              Date:    July 16, 2018
 23   ENTERTAINMENT, INC.,                     Time:    1:30 p.m.
 24   MICHAEL J. RAPINO, JOE                   Ctrm:    10A – 10th Floor
      BERCHTOLD, and JARED SMITH,              Judge:   Hon. Stephen V. Wilson
 25
 26                        Defendants.
 27
 28
                              STIPULATION AND [PROPOSED] ORDER
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  1         WHEREAS, on April 18, 2018, Plaintiff Kathryn A. Poser (“Poser”)
  2 commenced the above-captioned purported class action lawsuits against Live Nation
  3 Entertainment, Inc. (“Live Nation”), Michael J. Rapino, Joe Berchtold, and Jared
  4 Smith, Case No. 2:18-cv-03242-SVW-E;
  5         WHEREAS, pursuant to Section 21D(a)(3)(A) of the Securities Exchange Act
  6 of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(A)(i)(I-II) (the Private
  7 Securities Litigation Reform Act or “PSLRA”), counsel for Poser caused to be
  8 published a Notice of Pendency on Businesswire on April 18, 2018, advising
  9 members of the purported Class of, inter alia, (1) the pendency of the action; (2) the
 10 claims asserted therein; (3) the purported Class Period; and (4) that, not later than 60
 11 days after the date on which the Notice was published, any member of the Purported
 12 Class could move the court to serve as Lead Plaintiff of the Class;
 13         WHEREAS,       on    June   18,   2018,    movant    Christopher    Hawkinson
 14 (“Hawkinson”) timely filed a motion for his appointment as Lead Plaintiff and
 15 approval of his choice of counsel as Lead Counsel;
 16         WHEREAS, also on June 18, 2018, Plaintiff Kathryn A. Poser (“Poser”)
 17 timely filed a motion for her appointment as Lead Plaintiff and approval of hier
 18 choice of counsel as Lead Counsel;
 19         WHEREAS, no other motions for lead plaintiff were filed by June 18, 2018,
 20 the deadline by which class members were required to move to be appointed lead
 21 plaintiff under 15 U.S.C. §78u-4(a)(3)(A) and (B);
 22         WHEREAS, as of the date of this stipulation, Hawkinson and Poser remain
 23 the only class members that have filed lead plaintiff motions;
 24         WHEREAS, Hawkinson and Poser have filed signed, sworn certifications in
 25 support of their motions for appointment as Lead Plaintiff, which comply with the
 26 requirements of the PSLRA, 15 U.S.C. § 78u-4(a)(2), setting forth, inter alia, their
 27 transactions in Live Nation securities;
 28
                                STIPULATION AND [PROPOSED] ORDER
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  1        WHEREAS, the PSLRA, 15 U.S.C. § 78u-4(a)(3)(B)(iii), provides, inter alia,
  2 the most adequate plaintiff to serve as Lead Plaintiff is, in the determination of the
  3 Court, the “person or group of persons” that has the largest financial interest in the
  4 relief sought by the class and otherwise satisfies the relevant requirements of Fed. R.
  5 Civ. P. 23. See In re Gemstar-TV Guide Int’l. Sec. Litig., 209 F.R.D. 447, 450 (C.D.
  6 Cal. 2002); Osher v. Guess?, Inc., No. 01-cv-00871 LGB (RNBx), 2001 WL
  7 861694, at *3 (C.D. Cal. Apr. 26, 2001); In re Orion Sec. Litig., No. 08 Civ. 1328
  8 (RJS), 2008 WL 2811358, at *4 (S.D.N.Y. Jul. 8, 2008) (citing In re Fuwei Films
  9 Sec. Litig., 247 F.R.D. 342, 436-37 (S.D.N.Y. 2007;
 10        WHEREAS, courts have endorsed stipulations among competing lead
 11 plaintiff movants as promoting the statutory purposes of the PSLRA, and have
 12 permitted co-lead plaintiff structures ...[since they] provide greater stability in the
 13 prosecution of securities class actions.” Maiman v. Talbott, No. SACV 09–0012
 14 AG, 2009 WL 10675075, at *3 (C.D. Cal. Sept. 14, 2009) (citing Pirelli Armstrong
 15 Tire Corp. Retiree Med. Benefits Trust v. LaBranche & Co., Inc., 229 F.R.D. 395
 16 (S.D.N.Y. 2004);
 17        WHEREAS, Hawkinson and Poser, to the best of their knowledge, believe
 18 that they have the largest known financial interests among Class members who filed
 19 timely applications for appointment as Lead Plaintiff in this case;
 20        WHEREAS, Hawkinson and Poser have each demonstrated adequacy
 21 pursuant to Rule 23 and the desire to prosecute this action on behalf of the Class
 22 having: (1) moved for appointment as Lead Plaintiff; (2) retained experienced and
 23 competent counsel to prosecute this case on behalf of the Class; (3) communicated
 24 with counsel concerning the status and facts of this case; and (4) sustained
 25 individual losses from their investments in Live Nation securities;
 26        WHEREAS, Hawkinson and Poser have demonstrated that their claims are
 27 closely aligned with and are typical of other members of the Class as their claims:
 28
                               STIPULATION AND [PROPOSED] ORDER
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  1 (1) arise from the same event, practice or course of conduct that gives rise to other
  2 Class members’ claims; and (2) are based on the same legal theory as other Class
  3 members’ claims;
  4          WHEREAS, Hawkinson and Poser have alleged that: (1) defendants violated
  5 the Exchange Act by publicly disseminating false and misleading statements
  6 concerning Live Nation’s financial condition; (2) each plaintiff has sustained
  7 damages as a result of purchases of Live Nation securities during the Class Period at
  8 prices artificially inflated by defendants’ alleged misrepresentations and omissions;
  9 (3) they are not aware of any unique defenses defendants could raise against them;
 10 and (4) they do not have any interests antagonistic to the Class which would render
 11 them inadequate to represent the Class;
 12          WHEREAS, the PSLRA, 15 U.S.C. § 78u-4(a)(3)(B)(iv), provides that,
 13 subject to the approval of the Court, the most adequate plaintiff will select and retain
 14 counsel to represent the Class, and that Hawkinson has selected and retained the
 15 Rosen Law Firm PA (“Rosen”) and Poser has selected and retained the law firms
 16 Glancy Prongay & Murray LLP (“GPM”) and Holzer & Holzer LLC (“Holzer”), to
 17 pursue this litigation on behalf of the Class if they are appointed Lead Plaintiff;
 18          NOW, THEREFORE, the Parties respectfully request that:
 19     1.        Kathryn A. Poser and Christopher Hawkinson are appointed Co-Lead
 20               Plaintiffs for the above-captioned action, pursuant to 15 U.S.C. § 78u-
 21               4(a)(3)(B).
 22     2.        Kathryn A. Poser and Christopher Hawkinson’s selection of counsel is
 23               hereby approved, and Rosen Law Firm PA, Glancy Prongay & Murray
 24               LLP and Holzer & Holzer LLC are appointed as Co-Lead Counsel.
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 26          IT IS SO STIPULATED.
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 28
                                STIPULATION AND [PROPOSED] ORDER
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  1 Dated: June 25, 2018                    GLANCY PRONGAY & MURRAY LLP

  2                                         By: s/ Robert V. Prongay
  3                                         Lionel Z. Glancy
                                            Robert V. Prongay
  4                                         Lesley F. Portnoy
  5                                         Charles H. Linehan
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  9
                                            – and –
 10
 11 Dated: June 25, 2018                    HOLZER & HOLZER LLC

 12                                         By: s/ Corey D. Holzer
 13                                         1200 Ashwood Parkway, Suite 410
                                            Atlanta, Georgia 30338
 14                                         Telephone: (770) 392-0090
 15                                         Facsimile: (770) 392-0029
                                            Email: cholzer@holzerlaw.com
 16
 17 Dated: June 25, 2018                    ROSEN LAW FIRM PA
 18                                         By: s/ Laurence M. Rosen
 19                                         355 South Grand Avenue Suite 2450
                                            Los Angeles, CA 90071
 20                                         Telephone: (213) 785-2610
 21                                         Facsimile: (213) 226-4684
                                            Email: lrosen@rosenlegal.com
 22
 23                                         Proposed Co-Lead Counsel for Plaintiffs
                                            and the Class
 24
 25
    The filer, Robert V. Prongay, attests that the other signatories listed, on whose
 26 behalf this filing is submitted, concurs in the filing’s content and has authorized the
 27 filing.
 28
                               STIPULATION AND [PROPOSED] ORDER
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  1               PROOF OF SERVICE BY ELECTRONIC POSTING
  2        I, the undersigned say:
  3        I am not a party to the above case, and am over eighteen years old. On June
  4 25, 2018, I served true and correct copies of the foregoing document, by posting the
  5 document electronically to the ECF website of the United States District Court for
  6 the Central District of California, for receipt electronically by the parties listed on
  7 the Court’s Service List.
  8        I affirm under penalty of perjury under the laws of the United States of
  9 America that the foregoing is true and correct. Executed on June 25, 2018, at Los
 10 Angeles, California.
 11
 12                                              s/ Robert V. Prongay
                                                 Robert V. Prongay
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CM/ECF - California Central District-                             https://ecf.cacd.uscourts.gov/cgi-bin/MailList.pl?120853301282595-L_1_0-1
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         Electronic Mail Notice List

         The following are those who are currently on the list to receive e-mail notices for this case.

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         Manual Notice List

         The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
         therefore require manual noticing). You may wish to use your mouse to select and copy this list into your word
         processing program in order to create notices or labels for these recipients.

          (No manual recipients)




1 of 2                                                                                                                  6/25/2018, 5:50 PM
